         Case 1:21-cr-00028-APM Document 182 Filed 04/27/21 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )
                                          )                 Criminal No. 21-28-8 (APM)
KELLY MEGGS,                              )
                                          )
      Defendant.                          )
_________________________________________ )
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
            v.                            )
                                          )                 Criminal No. 21-28-9 (APM)
CONNIE MEGGS,                             )
                                          )
      Defendant.                          )
_________________________________________ )


                                            ORDER

       Defendants Kelly and Connie Meggs seek a bill of particulars that details the evidence

supporting the conspiracy (Count One) and destruction of property (Count Three) charges against

them. See Defs.’ Mot. for Bill of Particulars, ECF No. 155. Specifically, Defendants ask the

Government to identify, among other things, the earliest statement or event establishing the

conspiracy, statements in furtherance of the conspiracy by any co-defendant, statements indicating

when Defendants joined the conspiracy, and statements by Defendants concerning their intent prior

to January 6, 2021, to enter the Capitol building. See id. at 1–2. Defendants also want the

Government to identify any act of destruction of property committed by each Defendant and the

monetary value of such damage. See id. at 2.
           Case 1:21-cr-00028-APM Document 182 Filed 04/27/21 Page 2 of 3




        “A bill of particulars can be used to ensure that the charges brought against a defendant are

stated with enough precision to allow the defendant to understand the charges, to prepare a defense,

and perhaps also to be protected against retrial on the same charges.” United States v. Butler,

822 F.2d 1191, 1193 (D.C. Cir. 1987). “Yet if the indictment is sufficiently specific, or if the

requested information is available in some other form, then a bill of particulars is not required.”

Id. “[W]hether a bill of particulars is necessary rests within the sound discretion of the trial court.”

See United States v. Mejia, 448 F.3d 436, 445 (D.C. Cir. 2006) (internal quotation marks omitted).

        Defendants in this case have not demonstrated a need for a bill of particulars at this

juncture. The Third Superseding Indictment spells out the conspiracy count over 15 pages.

See Third Superseding Indictment, ECF No. 127 [hereinafter Third Superseding Indictment],

at 6–21.    It identifies the object of the conspiracy, the time period of the conspiracy, the

conspiracy’s members, and the manner and means of the conspiracy. See id. ¶¶ 27–29. The

charging document also contains 80 paragraphs detailing overt acts in furtherance of the

conspiracy, see id. ¶¶ 30–110, some of which directly implicate Defendants—particularly Kelly

Meggs, see id. ¶¶ 37–39, 48–50, 56, 59, 68, 70, 74–75, 87, 90, 95–100, 110. Additionally, the

Government is in the process of producing a large volume of discovery that presumably contains

the particulars that Defendants seek and will allow them to adequately prepare for trial. Such

discovery, when combined with the details of the conspiracy set forth in the indictment, make a

bill of particulars unnecessary at this stage of the case. See United States v. Ramirez, 54 F. Supp.

2d 25, 29 (D.D.C. 1999) (“A bill of particulars is not a discovery tool or a devise for allowing the

defense to preview the government’s theories or evidence.”).

        To be sure, the Third Superseding Indictment offers less detail about the specific property

that Defendants are alleged to have destroyed. See Third Superseding Indictment ¶¶ 112–113.



                                                   2
         Case 1:21-cr-00028-APM Document 182 Filed 04/27/21 Page 3 of 3




However, at various detention hearings, including those of Defendants, the Government has

articulated its theory of prosecution with respect to this charge: that Defendants aided and abetted

or conspired to damage doors on the east side of the Capitol building as part of a larger mob of

individuals that forced its way into the Capitol. See, e.g., Gov’t’s Opp’n to Def.’s Renewed

Request for Pretrial Release, ECF No. 98, at 4–5. Presumably, discovery will elucidate the

evidence to support this charge. Accordingly, a bill of particulars is not appropriate.

        For foregoing reasons, the court denies, without prejudice, Defendants’ Motion for a Bill

of Particulars.




Dated: April 27, 2021                                        Amit P. Mehta
                                                      United States District Court Judge




                                                 3
